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      Federal Defender
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      Assistant Federal Defender
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 4    Telephone: (916) 498-5700
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 5
      Attorneys for Defendant
 6    TROY DONAHUE BARRON
 7
 8                            IN THE UNITED STATES DISTRICT COURT
 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA
10    UNITED STATES OF AMERICA,                   )   Case No. S 96-190 JAM 2
                                                  )
11                        Plaintiff,              )   Unopposed Request to Extend Deadline
                                                  )   for Filing a Supplement or Other
12    v.                                          )   Appropriate Response; Order
                                                  )
13    TROY DONAHUE BARRON,                        )
                                                  )
14                        Defendant.              )   Judge: Honorable JOHN A. MENDEZ
                                                  )
15                                                )
16           On March 31, 2019, this Court issued an order directing the Office of the Federal
17    Defender to file a supplement or other appropriate response to defendant’s pro se motion
18    to reduce sentence under the First Step Act no later than April 20, 2019. For the reasons
19    set forth below, counsel requests an extension of the deadline to June 19, 2019.
20           The undersigned is the attorney responsible for assisting defendants convicted in
21    the Eastern District of California seeking sentence reductions pursuant to Section 404 of
22    the First Step Act. Defendant Troy Donahue Barron was one of three co-defendants
23    charged in 1996 in a 15-count indictment. Following an eight-day trial, the defendants
24    were convicted and Troy Barron was sentenced to life imprisonment. Because of the age
25    of this case, counsel has encountered difficulties in gathering the necessary documents
26    needed to analyze the relevant issues raised by the motion.
27           Accordingly, the undersigned respectfully requests an extension until June 19,

28    2019, to file a supplement or other appropriate response to defendant’s pro se motion

       Unopposed Request to Extend Deadline for        -1-          United States v. Troy Donahue Barron,
       Filing a Supplement or Other Appropriate                                       Civ. S 96-190 JAM 2
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 1    filed January 28, 2019. Counsel for the government, Assistant U.S. Attorney Jason Hitt,
 2    graciously indicated he has no objection to this request. A proposed order is lodged
 3    herewith.
 4    Date: May 21, 2019
 5                                                Respectfully submitted,
 6                                                HEATHER E. WILLIAMS
                                                  Federal Defender
 7
 8                                                /s/ David M. Porter
                                                  DAVID M. PORTER
 9                                                Assistant Federal Defender
10                                                Attorneys for Defendant
                                                  TROY DONAHUE BARRON
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       Unopposed Request to Extend Deadline for     -2-            United States v. Troy Donahue Barron,
       Filing a Supplement or Other Appropriate                                      Civ. S 96-190 JAM 2
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     Case 2:96-cr-00190-JAM-GGH Document 389 Filed 05/22/19 Page 3 of 3


 1                                                ORDER
 2           Pursuant to defendant’s request, and good cause appearing therefor, the Office of
 3    the Federal Defender is directed to file a supplement or other appropriate response on or
 4    before June 19, 2019.
 5           IT IS SO ORDERED.
 6    Dated: May 21, 2019                          /s/ John A. Mendez_______________
                                                   HONORABLE JOHN A. MENDEZ
 7
                                                   United States District Court Judge
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       Unopposed Request to Extend Deadline for     -3-           United States v. Troy Donahue Barron,
       Filing a Supplement or Other Appropriate                                     Civ. S 96-190 JAM 2
       R          Od
